Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 1 of 17




                          In The Matter Of

                 La Union Del Pueblo Entero, et al.,

                                Plaintiffs

                                    v

                        State Of Texas, et al.,

                              Defendants


                                 CASE

                              5:21-cv-844

                                  Date

                               4-28-2022

                               Witness

                       Brian Keith Ingram, J.D.




                         Certified Copy
                           Transcript


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            Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 2 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 1

4/28/2022                                                                                          1
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  1             IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
  2                  SAN ANTONIO DIVISION
  3    LA UNION DEL PUEBLO         §
       ENTERO, ET AL.,         §
  4         Plaintiffs,   § Civil Action No.
                        § 5:21-cv-844 (XR)
  5    VS.                § (Consolidated Cases)
                        §
  6    STATE OF TEXAS, ET AL.     §
            Defendants.      §
  7    **************************************************
  8                  ORAL DEPOSITION OF
                    BRIAN KEITH INGRAM, J.D.
  9              CORPORATE REPRESENTATIVE FOR THE
                 TEXAS SECRETARY OF STATE OFFICE
 10                   APRIL 28, 2022
 11    **************************************************
 12           ORAL DEPOSITION OF BRIAN KEITH INGRAM, J.D.,
 13    CORPORATE REPRESENTATIVE FOR THE TEXAS SECRETARY OF
 14    STATE OFFICE produced as a witness at the instance of
 15    the Plaintiffs and Plaintiff-Intervenors, and duly
 16    sworn, was taken in the above-styled and numbered cause
 17    on the 28th day of April 2022, from 9:03 a.m. to
 18    3:18 p.m., before Caroline Chapman, CSR in and for the
 19    State of Texas, reported by Computerized Stenotype
 20    Machine, Computer-Assisted Transcription, held at the
 21    rice Daniel Sr State Office Building, 209 West 14th
 22    Street, Austin, Texas, and via web-based conference
 23    pursuant to the Federal Rules of Civil Procedure.
 24

 25

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        1 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                          Page: 1
            Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 3 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 147

4/28/2022                                                                                        147
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  1               MS. HUNKER: Objection. Asked and
  2    answered.
  3       A.    No.
  4       Q.    Are you aware of any investigation into illegal
  5    voting, election fraud, or other criminal activity in
  6    connection with voting with the use of an assister in
  7    Texas?
  8               MS. HUNKER: Objection, form.
  9       A.    Yes.
 10       Q.    How many instances are you aware of?
 11       A.    Well, most of the complaints that come to our
 12    office that we refer to the Attorney General have to do
 13    with the mail voting process and a lot of those are
 14    charges of illegal assistance, so I don't know precisely
 15    how many and I can't talk about particulars because they
 16    are over with the Attorney General and they are not
 17    public record under 31.006, but it would -- I would say
 18    at least 10 or 15 illegal assistance complaints have
 19    been referred over there, maybe only 10, maybe 11, I
 20    don't know. It is somewhere in that neighborhood. And
 21    then, of course, we have had a few complaints along the
 22    way in the last 10 years of persons who complain that
 23    the assistance that was given in-person was illegal.
 24       Q.    And so you say at least or somewhere between 10
 25    and 15 that you have referred to the Attorney General's

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        147 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 147
            Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 4 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 148

4/28/2022                                                                                        148
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  1    Office -- or your office has referred to the AG's
  2    Office; is that correct?
  3       A.   Right. In the last couple years. This is not
  4    just in one election.
  5       Q.   And when say, "over the last couple of years,"
  6    can you give me a more precise time frame?
  7       A.   Well, I don't know. I would have to go look at
  8    the complaint log. But I would say at least since 2020,
  9    election, general election in 2020 that we have had
 10    probably a good 10 or 15.
 11       Q.   And so it is your testimony that, since
 12    approximately 2020 through present, your office is
 13    referred approximately between 10 and 15 complaints
 14    about unlawful assistance with vote by mail to the
 15    Attorney General's Office for further investigation; is
 16    that right?
 17       A.   I agree that that's the number that I have got
 18    in my head. I would have to look at the complaint log
 19    and confirm it.
 20       Q.   And so you use the term "complaint log," can
 21    you tell me what that is?
 22       A.   It is a log of complaints that we get, election
 23    log complaints.
 24       Q.   And is that a formal written document that your
 25    office keeps?

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        148 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 148
            Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 5 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 149

4/28/2022                                                                                        149
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  1       A.     Yes.
  2       Q.     Is that a document that, to your knowledge, has
  3    been produced to the plaintiffs in discovery in this
  4    case?
  5       A.     I would be surprised if it had. It has
  6    confidential information in it, but it might.
  7       Q.     So if I were to use the term "complaint log"
  8    would that have a specific meaning to the folks in your
  9    office?
 10       A.     It would.
 11       Q.     And is there only one complaint log that is
 12    kept by your office?
 13       A.     Should be.
 14       Q.     How is that document updated?
 15       A.     By my assistant when the complaints come in.
 16       Q.     And so walk me through that process if you
 17    would, please.
 18       A.     A complaint comes in, it is recorded in the
 19    complaint log, it is scanned and emailed to me for
 20    review.
 21       Q.     And do you review every complaint that does
 22    come in?
 23       A.     I do.
 24       Q.     What happens after you conduct that review?
 25       A.     Either a disposition letter will be put

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        149 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 149
            Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 6 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 150

4/28/2022                                                                                        150
                                  NATIONAL COURT REPORTERS INC 888.800.9656




  1    together by my assistant and mailed to the complainant
  2    or it will be assigned to an attorney for either
  3    referral to the Attorney General or for a letter back to
  4    the complainant.
  5       Q.     Who makes the decision, the ultimate decision
  6    about whether it is issued a -- whether a disposition
  7    letter is issued or if it is referred it an attorney for
  8    further follow-up?
  9       A.     Me.
 10       Q.     Anybody else?
 11       A.     No.
 12       Q.     What type of information would appear on the
 13    complaint log for each complaint that is sent in to your
 14    office?
 15       A.     I am not sure. I haven't ever seen the
 16    document myself, so I don't know all of the boxes that
 17    it has, but it will have -- generally, it will have the
 18    date the complaint was received, the nat -- the broad
 19    general nature description of the complaint. The person
 20    bringing the complaint and I think usually the person
 21    complained of. It will also have --
 22       Q.     Any others?
 23       A.     -- a column for attorney assigned and then
 24    disposition.
 25       Q.     Thank you. And forgive me, please, for

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        150 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 150
            Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 7 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 151

4/28/2022                                                                                        151
                                  NATIONAL COURT REPORTERS INC 888.800.9656




  1    speaking over you.
  2               Any other information that you could think
  3    of that might be captured on that document?
  4       A.   Like I said, I don't know. I haven't seen the
  5    document myself. I think those are the categories.
  6       Q.   Having never seen the document, do you have any
  7    information about whether it is in fact complete with
  8    every complaint that has come in or not?
  9               MS. HUNKER: Objection, form.
 10       A.   I believe it to be complete at least for the
 11    last several years. It has in the past been the
 12    responsibility of the legal -- paralegal, legal
 13    assistant to keep up with that document. Our legal
 14    assistant recently left us and so it's -- my assistant
 15    has been doing it. And I am pretty confident that the
 16    legal assistants that we have had in the last four or
 17    five years have done a good job of documenting every
 18    complaint, so that's what I would say about that.
 19       Q.   And so sitting here today, you have reason to
 20    believe that if a complaint is submitted to your office
 21    about some unlawful voting activity, the -- that
 22    complaint has been recorded on the complaint log and a
 23    scan of it has been saved to your system; is that fair?
 24               MS. HUNKER: Objection, form.
 25       A.   I believe so.

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        151 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 151
              Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 8 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 152

4/28/2022                                                                                        152
                                  NATIONAL COURT REPORTERS INC 888.800.9656




  1       Q.    Ms. Hunker, a this point, I do believe the
  2    witness testified he would be surprised if it were
  3    produced in discovery. I will make a formal request
  4    that we do obtain a copy of that and your office try to
  5    produce it to us. I recognize that there might be,
  6    based on the witness' testimony, some material that will
  7    require redaction. But we, obviously, take no position
  8    until we have seen it. But if you have to produce it in
  9    a redacted form of the privilege log, please do so.
 10                MS. HUNKER: I will note your request and
 11    do inquiries into the matter. However, to the extent
 12    that it has confidential information, particularly, if
 13    that information cannot be redacted without comprising
 14    the document or can't be redacted at all, we would be
 15    alleging privilege.
 16                MR. KANTERMAN: Noted and certainly happy
 17    to follow-up after the deposition. I certainly
 18    appreciate the courtesy of taking a look though. Thank
 19    you.
 20       Q.    (By Mr. Kanterman) Mr. Ingram, moving on to my
 21    next lines of questions if we could.
 22                Did you or your office have any
 23    communications with the Texas Governor and/or the Office
 24    of the Texas Governor regarding any incidents of illegal
 25    voting?

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        152 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 152
            Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 9 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 154

4/28/2022                                                                                        154
                                  NATIONAL COURT REPORTERS INC 888.800.9656




  1    for the other candidate by some margin. But because of
  2    the overwhelming number of mail ballots that went
  3    overwhelmingly for the one candidate, he ended up
  4    winning the race by a few votes, and that has been the
  5    subject of investigation by the Attorney General and it
  6    has been the subject of indictments by the Attorney
  7    General.
  8       Q.   And do you have any recollection sitting here
  9    today the particulars of the conversations you had with
 10    the Governor's office about that situation?
 11       A.   Just what we are talking about here today that
 12    it happened and it was investigated.
 13       Q.   You mentioned you had thousands of hours of
 14    communications with the Governor's office over your --
 15    the course of your time with the Secretary of State's
 16    Office; is that right?
 17       A.   That's right.
 18       Q.   Are those conversations generally in written
 19    form in some other form?
 20       A.   No. We talk.
 21       Q.   When you say "talk," are those in-person
 22    communications, telephone communications or something
 23    else?
 24       A.   Both. Mostly on the phone but we do talk
 25    in-person.

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        154 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 154
           Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 10 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 155

4/28/2022                                                                                        155
                                  NATIONAL COURT REPORTERS INC 888.800.9656




  1       Q.   Did you have any additional communications with
  2    the Texas Governor or his office about violations of
  3    Texas election laws besides those we have already
  4    discussed?
  5               MS. HUNKER: Objection, form. Asked and
  6    answered.
  7       A.   Yeah. Again, I -- I can't remember any
  8    specific conversations, but we talk a lot and we talk
  9    about violations of the law a lot. We talk about all
 10    kinds of things.
 11       Q.   Have you had any communications with the Texas
 12    Attorney General or his office regarding incident of or
 13    investigation into illegal voting in the State of Texas?
 14               MS. HUNKER: I am going to object to the
 15    extent this calls for investigative privilege and
 16    instruct my witness not to reveal any information
 17    concerning complaints that have been referred to the OAG
 18    but have yet to be resolved through a final matter.
 19       A.   Yes. I talk to the Attorney General's
 20    investigative team on a regular basis.
 21       Q.   And, sir, I am not asking you for specifics of
 22    any individual circumstances at the moment, generally,
 23    what are those conversations about?
 24               MS. HUNKER: Same objection with the same
 25    advice that my witness not communicate anything specific

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        155 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 155
           Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 11 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 156

4/28/2022                                                                                        156
                                  NATIONAL COURT REPORTERS INC 888.800.9656




  1    with respect to a complaint that has been referred to
  2    the Attorney General but has yet to be resolved through
  3    every conviction or dismissal.
  4       A.    Yeah. We talk about a lot of stuff. I mean,
  5    we talk about complaints that we have sent over. We
  6    talk about the language of the statute and what we think
  7    it means versus what they think it means. We talk about
  8    bills that get filed in the legislative process, so I
  9    mean, we talk to them about a variety of things.
 10       Q.    But two of those items that you just mentioned
 11    I wanted to discuss a little bit further. If I heard
 12    you correctly, first, that you discussed with the
 13    Attorney General's Office your interpretation and their
 14    interpretation of certain provisions of the law; is that
 15    right?
 16       A.    That's right.
 17       Q.    Have you discussed with the Attorney General's
 18    Office your interpretation and their interpretation of
 19    provisions of SB 1.
 20               MS. HUNKER: Objection to the extent it
 21    calls for investigative privilege as well as
 22    attorney-client privilege, specifically where the
 23    Secretary of State's Office is requesting advice from
 24    the Attorney General, I would advise my client to
 25    refrain from any of those type of communications.

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        156 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 156
           Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 12 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 157

4/28/2022                                                                                        157
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  1       A.   No.
  2       Q.   Sir, when you are discussing -- when you are
  3    having these conversations with the Attorney General's
  4    Office that you mentioned, those in which they are
  5    seeking your input on the interpretation of statutory
  6    language and you are discussing their interpretation,
  7    are you doing so in furtherance of seeking their legal
  8    advice?
  9       A.   No. The one instance I can think of, it was
 10    them explaining to me their interpretation of the Penal
 11    Code 36.02 so that I would quit sending them complaints
 12    that they didn't think warranted investigation.
 13       Q.   And in your view was that conversation in
 14    furtherance of seeking or receiving legal advice from
 15    them?
 16       A.   No.
 17       Q.   Let's talk about -- let's talk about the scope
 18    of that conversation then. And can you repeat for me,
 19    please, the code section you just referred to, 38?
 20       A.   36.02 of the Penal Code.
 21       Q.   And was it just a single conversation that you
 22    can recall at the Attorney General's Office in which you
 23    discuss their interpretation of Section 36.02 of the
 24    Penal Code?
 25       A.   That's right.

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        157 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 157
           Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 13 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 158

4/28/2022                                                                                        158
                                  NATIONAL COURT REPORTERS INC 888.800.9656




  1       Q.     And when was that conversation?
  2       A.     Several years ago.
  3       Q.     Do you have a more specific approximation of a
  4    date?
  5       A.     No.
  6       Q.     Would it be before or after 2020?
  7       A.     It would be before '20. Several years ago, it
  8    was before '20.
  9       Q.     Do you think it was before 2018?
 10       A.     Don't know.
 11       Q.     Was this a conversation you had in-person, over
 12    the telephone, by email or some other -- through some
 13    other media?
 14       A.     It was a phone call.
 15       Q.     And approximately how long did that phone call
 16    last?
 17       A.     Five, 10 minutes.
 18       Q.     And who attended that phone call, if you
 19    recall?
 20       A.     Jonathan White and myself.
 21                THE REPORTER: And excuse me, we had
 22    someone come in the room.
 23       Q.     Anybody else?
 24                THE REPORTER: Excuse me just a moment,
 25    Mr. Kanterman. May I get your name?

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        158 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 158
           Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 14 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 160

4/28/2022                                                                                        160
                                  NATIONAL COURT REPORTERS INC 888.800.9656




  1       Q.   And tell me what it was, please.
  2       A.   So 36.02 is the anti-bribery statute, and it
  3    says that -- that the crime consists of giving anything
  4    of value to, in part, there is a lot of categories, but
  5    one of the categories is a voter for that -- that you
  6    anticipate influencing the voter's discretion in any
  7    way, right. So to us at the Secretary of State's
  8    Office, that means the decision whether to vote or not
  9    is part of the discretion of a voter. And if somebody
 10    gives, you know, like Free Blue Jean Day on Friday, if
 11    we all have 100 percent turn out and vote, that to us
 12    would be a violation of 36.02 because you're influencing
 13    the discretion of a voter to turn out to actually vote
 14    or not.
 15               Jonathan says that the way that they -- or
 16    said that the way that they interpret that statute is,
 17    it has to be influencing the voter's discretion in the
 18    booth in a particular way, so to vote for or against a
 19    measure, for or against a candidate, and that the meer
 20    enticement of voting by an offer of a free beer with
 21    your out voted sticker, or whatever, is not sufficient
 22    to constitute the crime; that there has been to be an
 23    actual influencing of the voter's vote itself not their
 24    decision to vote or not. I still think he is --
 25       Q.   Beyond --

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        160 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 160
           Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 15 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 208

4/28/2022                                                                                        208
                                  NATIONAL COURT REPORTERS INC 888.800.9656




  1             IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
  2                 SAN ANTONIO DIVISION
  3    LA UNION DEL PUEBLO         §
       ENTERO, ET AL.,         §
  4         Plaintiffs,   § Civil Action No.
                        § 5:21-cv-844 (XR)
  5    VS.                § (Consolidated Cases)
                        §
  6    STATE OF TEXAS, ET AL.     §
            Defendants.      §
  7    **************************************************
  8                 REPORTER'S CERTIFICATION
  9                    ORAL DEPOSITION OF
 10                  BRIAN KEITH INGRAM, J.D.
 11                     APRIL 28, 2022
 12    ****************************************************
 13               I, CAROLINE CHAPMAN, Certified Shorthand
 14    Reporter in and for the State of Texas, hereby certify
 15    to the following:
 16               That the witness, BRIAN KEITH INGRAM, J.D.
 17    was duly sworn by the officer and that the transcript of
 18    the oral deposition is a true record of the testimony
 19    given by the witness;
 20               That the deposition transcript was
 21    submitted on May 2, 2022, to the witness or to the
 22    attorney for the witness for examination, signature, and
 23    return to me within 20 days;
 24               That the amount of time used by each party
 25    at the deposition is as follows:

Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        208 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 208
           Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 16 of 17
5:21-cv-844 (XR)                         Entero v Texas                        Brian Keith Ingram JD 209

4/28/2022                                                                                        209
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  1               Mr. Freeman - Two hours and fifty-five
  2    minutes.
  3               Mr. Kanterman - One hour and twenty-two
  4    minutes.
  5               That pursuant to information given to the
  6    deposition officer at the time said testimony was taken,
  7    the appearance page includes all parties of record.
  8               I further certify that I am neither
  9    counsel for, related to, nor employed by any of the
 10    parties or attorneys in the action in which this
 11    proceeding was taken, and further that I am not
 12    financially or otherwise interested in the outcome of
 13    the action.
 14               Certified to by me on May 2, 2022.
 15

 16                   ______________________________
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Entero v Texas 5:21-cv-844 (XR)          Entero v Texas                        209 Brian Keith Ingram JD

4/28/2022                         National Court Reporters Inc. 888.800.9656
                                                                                        Page: 209
            Case 5:21-cv-00844-XR Document 747-22 Filed 09/01/23 Page 17 of 17
5:21-cv-844 (XR)                         Entero v Texas                             Brian Keith Ingram JD 210

4/28/2022                                                                                             210
                                  NATIONAL COURT REPORTERS INC 888.800.9656



                                  Transcript Errata Sheet For

      Date:

      Case Number:

      Case Name:

      Deponent:

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      Page Line     Now Reads               Should Read                       Remove Therefore

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      Date:    ______________________________

      Signature of the Deponent:


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